       Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 1 of 23



               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

___________________________________
                                      )
INTERNATIONAL BROTHERHOOD             )   Case No.: ______________
OF TEAMSTERS, AIRLINE                 )
DIVISION,                             )   Hon. ___________________
25 Louisiana Avenue NW                )
Washington, DC 20001                  )
                                      )
and                                   )
                                      )
AIRLINE PROFESSIONALS ASSOC.          )
OF THE INTERNATIONAL                  )
BROTHERHOOD OF TEAMSTERS,             )
LOCAL UNION NO. 1224,                 )
2754 Old State Route 73               )
Wilmington, OH 45177                  )
                                      )
                 Plaintiffs,          )
                                      )
                        v.            )
                                      )
ATLAS AIR, INC.,                      )
2000 Westchester Avenue,              )
Purchase, New York 10577              )
                                      )
and                                   )
                                      )
POLAR AIR CARGO WORLDWIDE,            )
INC.                                  )
2000 Westchester Avenue,              )
Purchase, New York 10577.             )
                                      )
                        Defendants.   )
                                      )

                PLAINTIFFS’ VERIFIED COMPLAINT
          FOR PRELIMINARY AND PERMANENT INJUNCTIVE
                   AND DECLARATORY RELIEF
        Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 2 of 23



      Plaintiffs International Brotherhood of Teamsters, Airline Division (“IBT”) and

Airline Professionals Association, Teamsters Local Union No. 1224, an affiliate of the

IBT (“Local 1224”) (collectively “Plaintiffs” or the “Union”) for their complaint against

Defendants Atlas Air, Inc. and Polar Air Cargo Worldwide, Inc. (collectively “Atlas,”

or “Defendants”) hereby state:

                           JURISDICTION AND VENUE

      1.     This is an action for preliminary and permanent injunctive relief,

declaratory judgment and other appropriate relief brought pursuant to the Railway

Labor Act, 45 U.S.C. § 151, et seq. (hereinafter “RLA” or “the Act”), and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201, 2202. Plaintiffs challenge Defendants’

unlawful changes to the RLA statutory status quo by virtue of Defendants’ new,

unilaterally-imposed requirement that Union-represented pilots operate aircraft that

are not safe to fly while maintenance mechanics can fix them. Specifically,

Defendants are now forcing said pilots to perform Engine Starts for the purpose of

maintenance acceptance, verification or calibration, rather than for contractually

permissible flight purposes. This new, unbargained-for maintenance Engine Start

requirement constitutes a wholesale, unilateral alteration of the express scope-of-

work provisions contained in the parties’ collective bargaining agreement specifically

defining the “work” that pilots may be required to safely perform. It also constitutes

a unilateral alteration of the compensation provision set forth in the parties’ collective

bargaining agreement. Furthermore, it presents substantial and serious safety issues

for the pilots and public at large. Defendants unilaterally imposed this new



                                            2
        Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 3 of 23



requirement while Defendants and Plaintiffs are engaged in negotiations over

amendments to their collective bargaining agreement pursuant to RLA Section 6.

These changes were not negotiated, were not consented to by the Union, and were

made prior to the exhaustion of the mandatory, “major dispute” mechanisms of the

RLA for changing the status quo of the pilots’ terms and conditions of employment.

Therefore, Defendants’ unlawful self-help in the form of unilateral implementation of

working conditions, without any arguable justification under the parties’ collective

bargaining agreement, violates the RLA and its status quo provisions, thereby

entitling Plaintiffs not only to immediate injunctive relief but also resort to a strike

to restore the status quo.

      2.     This Court has original jurisdiction over this matter pursuant to 28

U.S.C. §§ 1331, 1337, 2201, and 2202. Inasmuch as the Union continues to labor

under the terms of this Court’s preliminary injunction order, dated November 30,

2017 in Atlas Air, Inc., et al. v. International Brotherhood of Teamsters, et al., Case

No. 1:17-cv-01953-RDM, (D.D.C), ECF Doc. # 60, appeal pending, International

Brotherhood of Teamsters et al. v. Atlas Air, Inc., et al., Case No. 17-7172 (D.C. Cir.)

(the “Injunction Case”), Plaintiffs also seek a declaration that the Union and its

representatives and agents will not be in violation of said injunction by informing

Defendants’ pilots that they have a legal right not to perform Engine Starts as

mandated by Defendants’ unilateral and unlawful directive.




                                           3
        Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 4 of 23



      3.     The Norris-LaGuardia Act, 29 U.S.C. § 101, et seq., does not deprive this

Court of jurisdiction over the Plaintiffs’ claims for injunctive relief because this action

is brought to enforce the mandatory procedures of the RLA, 45 U.S.C. § 151, et seq.

      4.     Venue under 28 U.S.C. § 1391(b)(1) and (2) is proper in, and personal

jurisdiction over Defendants exists in, this District where Defendants regularly

conduct business operations and maintain substantial contacts. Further, this case is

inextricably intertwined with and related to the Injunction Case, 1:17-cv-01953-RDM

pending in this Court and the United States Court of Appeals for the District of

Columbia.

                                    THE PARTIES

      5.     Plaintiff IBT is a labor organization and is the exclusive bargaining

representative, as such term is defined by Section 1, Sixth of the Railway Labor Act

(“RLA”), 45 U.S.C. § 151, Sixth, of the pilots employed by Defendant Atlas and who

fly aircraft for and on behalf of Atlas and Polar. The IBT is headquartered at 25

Louisiana Avenue, N.W., Washington, D.C. 20001. This action is brought by the IBT

in its own behalf and for and in the interests of all IBT-represented pilots employed

in the service of Defendants. The National Mediation Board (“NMB”) determined that

Atlas and Polar constitute a single transportation system for RLA representation

purposes on September 29, 2008. Thereafter, on December 28, 2008, the NMB

certified the IBT as the exclusive representative of the craft or class of Pilots in the

employ of Defendants Atlas and Polar as a single transportation system for

representation purposes.



                                            4
        Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 5 of 23



      6.      Plaintiff Local 1224 is a labor organization headquartered at 2754 Old

State Route 73, Wilmington, Ohio 45177. It is a chartered local union affiliate of the

IBT. The IBT has delegated to IBT Local 1224 the exclusive responsibility of

providing day-to-day representation to the IBT-represented pilots employed by

Defendants.

      7.      Defendants Atlas and Polar are air carriers within the meaning of the

RLA, 45 U.S.C. § 181. Defendants engage in world-wide cargo operations for various

customers including DHL and “Amazon Prime” or Amazon Air. Although Defendants

each hold separate air carrier operating certificates from the United States

Department of Transportation’s Federal Aviation Administration (“FAA”), they

function as a “single transportation system” under the RLA for purposes of labor

relations involving their pilot group, and Atlas is the employer of all of the pilots who

fly for both Defendants Atlas and Polar. Both Atlas and Polar are Delaware

corporations and are headquartered at 2000 Westchester Avenue, Purchase, New

York 10577.

                                        FACTS

      8.      The Union and Defendants are parties to a collective bargaining

agreement (“CBA”) covering the rates of pay, rules and working conditions of the IBT-

represented pilots employed by Atlas. A true and accurate copy of the CBA is attached

as Exhibit 1 and incorporated herein by reference.

      9.      Since early 2016, the Union and Defendants have been involved in a

collective bargaining dispute over the amendment of the CBA. In this regard,



                                           5
        Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 6 of 23



pursuant to RLA Section 6, 45 U.S.C. § 156, in early January, 2016, the Union and

Defendants commenced collective bargaining negotiations to amend their extant CBA

and those negotiations are on-going.

            The Unprecedented Atlas Engine Start Operations Bulletin

      10.    On or about February 2, 2019, Atlas issued Operations Bulletin OB-19-

01 (“OB-19-01”), ordering that pilots perform Engine Starts for maintenance

acceptance, verification or calibration on revenue flights. Through OB-19-01,

Defendants are requiring pilots to conduct maintenance worker functions before an

aircraft has been released by maintenance personnel and certified by those

maintenance personnel as being airworthy and therefore ready for return to service,

i.e., flying. These maintenance actions include starting aircraft powerplants (i.e.,

engines) and auxiliary power systems, and/or operating associated aircraft systems

or flight controls for the purpose of diagnosing, evaluating, or complying with

required maintenance action before an airworthiness release has been issued by a

qualified maintenance representative.    A true and accurate copy of OB-19-01 is

attached as Exhibit 2 and incorporated herein by reference.

                  The CBA’s Definitions on Pilot Work Duties

      11.    Section 2.II. of the CBA explicitly defines the “work” of the Union-

represented pilots, stating:

      II. Work: “Work” shall include a flight assignment, a deadhead
      assignment, reserve, layover, or training (other than hone-based
      training).




                                         6
        Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 7 of 23



(Exhibit 1 at pg. 14) Of these various categories of “work” that a pilot may be required

to perform, only a “flight assignment” entails actual operation of an aircraft.

      12.    With respect to flight assignments (i.e., aircraft operations) which pilots

may be required to perform, pilots are compensated based on the accumulation of

“Block Hours.” The CBA defines “block hours” in Section 2.H. as follows”

      H. Block Hours: “Block Hours” means the period from the time the aircraft
      blocks out until the aircraft blocks in again. Block in shall be the moment that
      an aircraft comes to complete rest in the blocks. Block out shall be the time
      when an aircraft’s brakes are released and push back or taxi begins.

(Exhibit 1 at pg. 11)

                  FAA Operational Procedures for Safe Flight

      13.    For pilots in the service of Defendants, all training and operational

procedures pertaining to flight assignments and the operation of aircraft center upon

operating an aircraft that has already been cleared and certified as “airworthy” and

therefore ready to operate for the purpose of flight. In other words, those procedures

are all executed with the expectation that the aircraft is deemed airworthy and

therefore free of all defects that would render the aircraft unairworthy.

      14.    In cases where a known defect exists on an aircraft that does not in and

of itself necessarily render the aircraft unairworthy, Defendants’ operational

guidance procedures allow pilots to fly the aircraft with said known defect, and pilots

are provided additional guidance in order to operate the aircraft safely with such

defect. Said guidance is referred to as Minimum Equipment List (“MEL”), Dispatch

Deviations Guide (“DDG”), and Configuration Deviation List (“CDL”) items. Absent

specific guidance pertaining to MEL, DDG or CDL items, a pilot may not legally

                                           7
        Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 8 of 23



initiate a flight assignment until all defects on the aircraft have been corrected and/or

repaired and the aircraft has been deemed airworthy and released back into service

by a certified maintenance representative.

      15.    As a matter of Federal Aviation Administration (“FAA”) regulatory

requirements and Defendants’ own corresponding FAA-approved operational

procedure documents, an aircraft’s maintenance logbook must be presented to the

piloting Captain before flight. All known defects on the aircraft must be documented

by an appropriately rated and licensed aircraft mechanic as either repaired or

deferred before the piloting Captain can take command of the aircraft. In this regard,

FAA Certified Transport Category aircraft, such as those operated by Defendants,

have multiple layers of redundancy and those related systems and components by

design of the manufacturer provide the aircraft the ability to be operated in limited

situations with certain components inoperative or deactivated provided that certain

maintenance steps and procedures are followed. In such cases where the defects are

not repaired and have instead been deferred, specific guidance is available to the

aircraft’s Captain in the MEL, DDG or CDL manuals as to how to safely operate the

aircraft with consideration and guidance provided for the purpose of conducting a

flight. Nonetheless, with regard to evaluating whether or not an aircraft may be

deemed airworthy despite existing known defects, an appropriately rated and

licensed aircraft mechanic who is trained and familiar with all of the aircraft

operator’s policies and procedures to include familiarity with all aircraft

manufacturer guidance and manuals, must make those determinations.



                                           8
        Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 9 of 23



            Defendants’ Pilots are Untrained on Maintenance Duties

      16.     All training and procedures that are provided to Defendants’ pilots are

exclusively focused and centered upon operating an airworthy aircraft to perform an

actual flight assignment. Defendants’ pilots are not trained in any capacity to operate

any aircraft powerplant/engine, Auxiliary Power Unit (“APU”), or any other aircraft

system (e.g., hydraulic system) in any capacity except for the express purpose of flight

and completion of a flight assignment. They are also untrained on how to safely

perform maintenance Engine Starts. Indeed, before every flight where certain

aircraft systems or components may be inoperative or deactivated or where defects

exist as allowed by the aircraft manufacturer, pilots are provided guidance by an

appropriately rated, licensed and trained aircraft mechanic.

      17.     In the context of operating a powerplant/engine, APU or other aircraft

system, pilots have specific procedures that must be complied with to preclude those

systems exclusively or collectively from creating a hazardous condition in or around

the aircraft. Those procedures are all predicated upon an aircraft first being released

from maintenance as “airworthy,” with all known defects identified in the logbook as

either having been repaired or deferred by a maintenance representative.

      18.     In those limited cases where an aircraft crew may need to reposition an

aircraft at an airport, they must follow all procedures as if preparing for and

conducting a flight on an airworthy aircraft. This includes having the aircraft logbook

on board, with all maintenance defects cleared and/or deferred in accordance with

manufacturer requirements. These procedures are followed from startup and block-



                                           9
        Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 10 of 23



out to block-in just as if the pilots were preparing to conduct a regular flight, including

the   prerequisite    airworthiness    release    prior   to   operating    any   aircraft

powerplant/engine, APU or other system.

            Unilateral Change of the Pilots’ Work and Compensation

      19.     Through the recent unilateral issuance of OB-19-01, and by requiring

the pilots to perform maintenance related Engine Starts, and without any arguable

justification under the parties’ CBA, Defendants have imposed a requirement on

pilots to operate an aircraft for purposes other than flight or taxi movement without

any corresponding compensation. This action by the Defendants constitutes an

unlawful change in the rates of pay and terms and conditions of employment of pilots

prior to the exhaustion of the mandatory, “major dispute” mechanisms of the RLA for

changing the status quo of pilot rates of pay and terms and conditions of employment.

      20.     Section 3.A.2.a.ix of the CBA contains an express provision negotiated

by the Union and Defendants for conducting aircraft taxi movements and for

compensating pilots accordingly, which states:

      When a Crewmember is performing duties at an airport in conjunction
      with a scheduled flight and the Crewmember performs a taxi
      movement(s), either prior to or after a flight, the Crewmember shall be
      paid for the taxi movement on the basis of block time. However, if a
      Crewmember reports to the airport for the sole purpose of performing a
      taxi movement with no planned flight activities, he shall receive credit
      for actual block time or as provided in subsection 3.A.2.a.iv., above,
      whichever is greater.

(Exhibit 1 at pg. 19).

      21.     Through the unilateral issuance of OB-19-01, and without any arguable

justification under the parties’ CBA, Defendants have imposed a new requirement on

                                            10
       Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 11 of 23



pilots to operate an aircraft for purposes other than flight or taxi movement without

any corresponding compensation. This action by the Defendants constitutes an

unlawful change in the rates of pay and terms and conditions of employment of pilots

prior to the exhaustion of the mandatory, “major dispute” mechanisms of the RLA for

changing the status quo of pilot rates of pay and terms and conditions of employment.

  Unilateral Imposition of a Work Rule Impacting Pilot and Public Safety

      22.    Through the unilateral issuance of OB-19-01, Defendants have also

imposed a working condition requiring untrained pilots to engage in unsafe

operations in derogation of the RLA status quo between the parties, whereby both

parties and the pilots are expected to adhere to rules, including rules demarking the

work of aviation mechanics and the work of pilots regarding the maintenance and

flying of Defendants’ aircraft, respectively. In this regard, a jet engine is incredibly

powerful. At normal power, it can produce over 60,000 lbs. or more of thrust. The high

velocity air that exhausts out the back of the engine has two jets of exhaust that

combine to create what is referred to as “jet blast.” Hot exhaust gasses from the

engine generally make up about 20% of the jet blast, and 80% of the remaining air is

propelled by a large diameter fan that accelerates the air to extreme velocities and

provides the majority of the propulsive force of the motor. A typical medium size jet

engine at idle thrust, such as that associated with the maintenance-related Engine

Starts required by of OB-19-01, can produce a deadly jet blast area as far back as 400

feet behind the engine. The same engine at take-off power similarly produces a

potentially deadly wake as far back as 1,900 feet behind the engine.



                                          11
       Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 12 of 23



      23.    A jet engine also has an invisible and equally as deadly suction zone

around the entire frontal area of the jet engine. This area, when an engine is at idle

following a normal Engine Start, extends outward by approximately 16 feet on a

smaller sized jet. At take-off power, that suction zone extends out and in front of the

engine by over 75 feet.

      24.    A National Aeronautics and Space Administration Aviation Safety and

Reporting System (“NASA ARS”) study concluded that 45% of all accidents related to

jet blast come from Large Transport aircraft like the ones that are operated by Atlas.

Of these reported accidents, 53% of them involved accidents and incidents while an

engine was running on the ramp where ground vehicles, cargo containers and

personnel exist. Indeed, deadly accidents have occurred, and one such incident cited

by the National Transportation Safety Board (“NTSB”) in accident investigation

report DFW06FA056 detailed the events leading up to a fatal accident where a

mechanic was sucked into the engine of a smaller aircraft operated by Defendants,

namely a Boeing-737, during a maintenance-related Engine Start by pilots at

Continental Airlines. The mechanics in that case were not trained to operate the

aircraft and the pilots were authorized to start the engine for them. This combination

of untrained and unfamiliar personnel proved deadly to one of the mechanics who

was sucked into the running engine following an Engine Start and shredded to bits.

                    Union’s Demand to Atlas to Cease and Desist

      25.    On or about February 2, 2019, and again on February 5, 2019, the Union

emailed Defendants insisting that they cease and desist requiring pilots to perform



                                          12
       Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 13 of 23



maintenance-related Engine Starts and rescind OB-19-01 in order to restore the

status quo. To date, however, Defendants have refused to comply and have refused

to rescind OB-19-01.

      26.    Defendants’ new requirement for pilots to perform maintenance-related

Engine Starts is an unlawful, unilateral change by Defendants in the rates of pay

and terms and conditions of employment of the pilots, in violation of the RLA’s status

quo provisions. Such unilateral change was made without any arguable justification

under the CBA, and therefore constitutes a “major dispute” under the RLA.

      27.    For the above reasons, a breach of the statutory status quo with respect

to the CBA and has occurred and is continuing to occur, and/or further breaches of

the same have been threatened and will occur, unless and until injunctive relief is

granted.

                               CAUSES OF ACTION

                                      COUNT I

                       (Violation of Section 6 of the RLA)

      28.    The allegations of paragraphs 1 through 27 are incorporated by

reference pursuant to Fed. R. Civ. P. 10(c).

      29.    Section 6 of the RLA, 45 U.S.C. § 156, provides:

      Carriers and representatives of the employees shall give at least thirty
      days' written notice of an intended change in agreements affecting rates
      of pay, rules, or working conditions, and the time and place for the
      beginning of conference between the representatives of the parties
      interested in such intended changes shall be agreed upon within ten
      days after the receipt of said notice, and said time shall be within the
      thirty days provided in the notice. In every case where such notice of
      intended change has been given, or conferences are being held with

                                          13
       Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 14 of 23



      reference thereto, or the services of the Mediation Board have been
      requested by either party, or said Board has proffered its services, rates
      of pay, rules, or working conditions shall not be altered by the carrier
      until the controversy has been finally acted upon, as required by section
      155 of this title, by the Mediation Board, unless a period of ten days has
      elapsed after termination of conferences without request for or proffer
      of the services of the Mediation Board.

      30.    RLA Section 6 as set forth above provides that carriers shall not alter

the terms of a collective bargaining agreement or working conditions except as

provided in Section 6, which requires express notice and bargaining during the

amendable period set forth by parties.

      31.    Defendants did not amend the CBA and working conditions set forth

herein pursuant to Section 6 bargaining under the RLA, but instead unilaterally and

unlawfully altered agreements affecting rates of pay, rules, or working conditions in

continuing violation of RLA Section 6, 45 U.S.C. § 156.

                                         COUNT II

                     (Violation of Section 2, Seventh of the RLA)

      32.    The allegations of paragraphs 1 through 31 of the Complaint are

incorporated by reference pursuant to Fed. R. Civ. P. 10(c).

      33.    Section 2, Seventh of the RLA, 45 U.S.C. §152, Seventh, states:

      No carrier, its officers, or agents shall change the rates of pay, rules, or
      working conditions of its employees, as a class, as embodied in
      agreements except in the manner prescribed in such agreements or in
      section 156 of this title.

      34.    The continuing acts and conduct by Defendants in unilaterally changing

the Atlas pilots’ rates or pay and terms and conditions of employment as embodied in

the CBA during negotiations for amendments to the CBA are in violation of RLA

                                          14
       Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 15 of 23



Section 2, Seventh’s requirement that it maintain the status quo while such statutory

collective bargaining procedures continue.

                                     COUNT III

                    (Violation of Section 2, First of the RLA)

      35.    The allegations of paragraphs 1 through 34 of the Complaint are

incorporated by reference pursuant to Fed. R. Civ. P. 10(c).

      36.    Section 2, First of the RLA, 45 U.S.C. §152, First, states:

      It shall be the duty of all carriers, their officers, agents, and employees
      to exert every reasonable effort to make and maintain agreements
      concerning rates of pay, rules, and working conditions, and to settle all
      disputes, whether arising out of the application of such agreements or
      otherwise, in order to avoid any interruption to commerce or to the
      operation of any carrier growing out of any dispute between the carrier
      and the employees thereof.

      37.    The continuing acts and conduct by Defendants in unilaterally changing

the Atlas pilots’ status quo working conditions, and the terms and conditions of

employment as embodied in the CBA during negotiations for amendments to the CBA

are in violation of Section 2, First of the RLA, 45 U.S.C. §152, First, in that

Defendants have not exerted every reasonable effort to maintain agreements as to

rates of pay, rules and working conditions, nor to settle disputes.

                             IRREPARABLE INJURY

      38.    The allegations of paragraphs 1 through 37 are incorporated by reference

pursuant to Fed. R. Civ. P. Rule 10(c).

      39.    Defendants’ violations of their obligations under Sections 2, First,

Seventh and Section 6 of the RLA set forth in Counts I-III undermine the Act’s



                                          15
       Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 16 of 23



statutory purpose to prevent disruptions to interstate commerce through bargaining

in conference between carriers and their employees and, therefore, are contrary to

the public interest. As such, there is no obligation on the part of Plaintiff to show

irreparable injury because courts may enjoin a violation of the status quo pending

completion of the required Section 6 procedures, without the customary showing of

irreparable injury.

      40.    In addition to the irreparable injury to the statutory purposes and

machinery of the Act, the illegal and wrongful acts and conduct described under

Counts I-III are continuing and, if not enjoined, the Union and employees it represents

will be injured in ways that cannot be measured accurately in terms of money, either

as to extent or amount.

      41.    As a proximate result of the Defendants unlawful practices:

             a.       By means of the aforementioned acts, Defendants have

                      undermined Plaintiffs’ status as the exclusive bargaining

                      representative of the Atlas pilots by unilaterally altering rates or

                      pay, and terms and conditions of employment;

             b.       The bargaining process will be undermined and the parties

                      effectively prevented from reaching agreement; and

             c.       Defendants conduct is contrary to the public interest in stable

                      labor relations and the maintenance of agreements, as well as

                      their orderly change through the Act’s procedures.




                                            16
       Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 17 of 23



             d.    Defendants’ conduct presents a clear and present danger to the

                   pilots and the public at large.

      42.    The injury being suffered by the public, the Plaintiffs and pilots is

irreparable and continuing and cannot be recovered in an action at law or in

administrative or contractual proceedings.

      43.    For all the foregoing reasons, Plaintiffs and the Atlas pilots are without

an adequate remedy at law and will suffer serious, substantial and irreparable injury

unless Defendants’ unlawful conduct is enjoined. The public interest in the RLA and

interstate commerce requires that injunctive relief issue.

      44.    Defendants will not be injured by granting of injunctive relief requiring

it to comply with its duties under the RLA and to restore the status quo. Defendants

are required by statute to address any operational or financial need for changes to

existing agreements only through bargaining under the procedures of the RLA.

                                     COUNT IV

                              Declaratory Judgment

      45.    The allegations of paragraphs 1 through 44 are incorporated by

reference pursuant to Fed. R. Civ. P. Rule 10(c).

      46.    In the Injunction Case, this Court ordered:

            Defendants [the Union herein], their officers, agents, employees,
      members employed by Plaintiffs, and all persons acting in concert with
      any of them be, are hereby preliminarily enjoined from authorizing,
      encouraging, permitting, calling, engaging in, or continuing any strike,
      work stoppage, sick-out, concerted refusal to volunteer for or to accept
      work assignments (including, without limitation, open time flights),
      slowdown (including, without limitation, the existing SHOP and BOOT
      campaigns), or other self-help against Plaintiffs relating to the dispute

                                          17
        Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 18 of 23



      or disputes arising from the Section 6 notice served in the round of
      bargaining that commenced on or about February 2016.

(Injunction Case, ECF Doc. No. 60).

      47.    While it is generally true that parties engaged in mediation under the

supervision of the NMB pursuant to the RLA cannot engage in self-help to leverage

their contract negotiations prior to the exhaustion of RLA’s Section 5 and Section 6

negotiations processes, this principle does not resolve the issue of what the non-

breaching party’s rights are when the other engages in self-help by violating the

status quo prior to resolution of the Section 6 and Section 5 processes. In such

situations, the courts have recognized that the other party to the agreement, i.e., the

status quo victim, may itself engage in self-help. See, e.g., Detroit & Toledo Shore Line

R.R. Co. v. United Transp. Union, 396 U.S. 142, 154 (1969) (“[i]f the railroad is free

at this stage to take advantage of the agreement’s silence and resort to self-help, the

union cannot expected to hold back on its own economic weapons including the

strike”). Accordingly, the Supreme Court and other courts have held that a union

lawfully may strike over a status quo major dispute violation if the carrier violates

the status quo and has not restored the status quo before the strike takes place.

Detroit & Toledo at 154; Atlanta & W. Point R.R. Co. v. United Transp. Union, 439

F.2d 73, 80 (5th Cir. 1971) (“the union had the right to strike; that right continues

until the Act is complied with by the Carrier.”) (quoting United Industrial Workers v.

Board of Trustees of Galveston Wharves, 400 F.2d 320, 333 (5th Cir. 1968), cert.

denied, 404 U.S. 825 (1971)); see also Nat’l Airlines, Inc. v. Int’l Ass’n of Machinists &




                                           18
       Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 19 of 23



Aerospace Workers, 416 F.2d 998, 1003, n.3 (5th Cir. 1969) (noting that RLA status

quo strike is terminable after carrier complies with the statute).

      48.    Section 26.R of the CBA provides that “[n]othing in this Agreement will

be construed to require a Crewmember to take any action if he reasonably believes

that such action will result in substantial and imminent risk of harm to the

Crewmember or his equipment.” (Exhibit 1 at pg. 197). This Court’s November 30,

2018 preliminary injunction order in the Injunction Case arguably prevents the

Union from advising pilots of their rights to refuse unsafe work under Section 26.R

of the CBA when considering whether to perform maintenance-related Engine Starts.

      49.    Although it believes it has a lawful right to do so with respect to

Defendants’ violation of the RLA’s status quo violations as described in this action,

the Union has not called for a status quo strike in this case at this time. Should it do

so, however, the Union faces potential liability under the Court’s preliminary

injunction order in the Injunction Case. The Union therefore seeks a declaration that

neither the Union, nor their officers, agents or representatives would be in violation

of the Court’s November 30, 2017 preliminary injunction order issued in the

Injunction Case should the Union call for a status quo strike, advise the pilots

employed by Defendants not to perform maintenance-related Engine Runs, and/or

advise the pilots that they have contractual right not to perform any action that they

reasonably believe that such action would result in substantial and imminent risk to

him or his equipment.




                                          19
 Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 20 of 23



                       PRAYER FOR RELIEF

Plaintiffs request judgment against Defendants for the following relief:

A.    That Defendants and their officers, agents and representatives be

      ordered to restore the status quo regarding the unilateral changes and

      breaches outlined above, to cease and desist from altering the terms of

      the CBA, and to adhere to the terms of the CBA and status quo working

      conditions unless and until those terms are altered in Section 6

      bargaining with Plaintiffs;

B.    That the Court declare that Plaintiffs may communicate with their pilot

      members that they need not accept such unsafe assignments and that

      such communications by Plaintiffs and/or pilot actions do not violate this

      Court’s November 30, 2017 preliminary injunction order in the

      Injunction Case, 1:17-cv-01953-RDM;

C.    That the Court declare that Plaintiffs would not be in violation of this

      Court’s November 30, 2017 preliminary injunction order in the

      Injunction Case should Plaintiffs call for a status quo strike, advise the

      pilots employed by Defendants not to perform maintenance-related

      Engine Runs, and/or advise the pilots that they have contractual right

      not to perform any action that they reasonably believe that such action

      would result in substantial and imminent risk to them or their

      equipment.




                                    20
Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 21 of 23



D.   That Defendants be ordered to conspicuously post copies of this Court’s

     order in this case at all locations where pilots are based for a period of

     one-hundred eighty (180) days;

E.   That Defendants be ordered to provide a copy of this Court’s order

     in this case to every pilot who has been covered under the CBA since

     2016, by certified mail at their most current address of record, in order

     to ameliorate the effects of Defendants’ unlawful conduct on these

     employees’ rights under the RLA;

F.   That the Court issue preliminary and permanent injunctive relief

     restoring the status quo and enjoining Defendants and its officers,

     agents and representatives from: 1) breaching the CBA and status quo

     working conditions; 2) from interfering with, coercing, or discriminating

     against pilots covered by that CBA; and 3) from negotiating in bad faith

     with the IBT;

G.   That Defendants be ordered to make pilots adversely affected by the

     Defendants’ violations whole;

H.   That Plaintiffs be awarded their costs;




                                  21
       Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 22 of 23



      I.    That the Court grant Plaintiffs all additional relief that may be

            equitable, including a reasonable award of attorneys’ fees.



Dated: March 7, 2019                         Respectfully submitted,




/s/ Edward M. Gleason_______________         /s/ Joshua D. McInerney____________
Edward M. Gleason                            Joshua D. McInerney
(D.C. Bar No. 429325)                        (D.C. Bar No. 479471)
LAW OFFICE OF                                James Petroff (admission pending)
EDWARD GLEASON, PLLC                         BARKEN MEIZLISH, LLP
910 17th Street, N.W., Suite 800             250 East Broad Street, 10th Floor
Washington, DC 20006                         Columbus, Ohio 43215
Ph: (703) 771-7815                           Ph.: (624) 221-4221
egleason@gleasonlawdc.com                    Fax: (624) 744-2300
                                             jmcinerney@barkanmeizlish.com
                                             jpetroff@barkanmeizlish.com


                              Counsel for Plaintiffs




                                        22
Case 1:19-cv-00651-RDM Document 1 Filed 03/07/19 Page 23 of 23
